     Case 5:04-cr-40141-JTM   Document 203       Filed 08/16/05   Page 1 of 2




                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                    )
                                             )
                         Plaintiff,          )       CRIMINAL ACTION
                                             )
v.                                           )       No.   04-40141-01, 02
                                             )
ARLAN DEAN KAUFMAN and                       )
LINDA JOYCE KAUFMAN,                         )
                                             )
                         Defendants.         )
                                             )


                              MEMORANDUM AND ORDER
       Before the court are the following:

       1.    Defendants’ joint motion for pretrial discovery (Docs.
             136 and 137);
       2.    Government’s response (Doc. 155); and

       3.    Defendants’ reply (Doc. 174).
                        Criminal History Information
       Defendant seeks pretrial disclosure of the criminal history
records, including arrests, of any former resident of Kaufman
House, as well as a list of the witnesses the government intends

to call at trial, including any FBI “rap sheets” or NCIC computer
searches related to those witnesses.                   Defendants cite only two
cases in support of this request: United States v. Howell, 285 F.3d
1263 (10th Cir. 2002) and Brady v. Maryland, 373 U.S. 83 (1963).
Howell has nothing whatsoever to do with defendants’ right to

discover     the   felony     record   of    government       witnesses         or   other
individuals.       It is concerned with how evidence of a criminal
record should be handled at trial.                Fed. R. Evid. 609.             Fed. R.
  Case 5:04-cr-40141-JTM   Document 203    Filed 08/16/05   Page 2 of 2




Crim. P. 16 does not entitle defendant to discovery of the criminal
records of government witnesses.          United States v. Dominguez, 131

F.R.D. 556 (N.D. Ill. 1990).      While the government may be required
to disclose its witnesses and their criminal histories prior to
trial and risks running afoul of Brady if it does not do so, United
States v. Ponce Munoz, 150 F. Supp. 2d 1125, 1137-38 (D. Kan.
2001), Brady does not create a constitutional right to discovery.

Weatherford v. Bursey, 429 U.S. 545, 559 (1977).
                            Medicare Payments
    The entirety of defendants’ request for Medicare payments is
as follows:
         The government has alleged Dr. Kaufman overcharged
    and defrauded the government, the residents and the
    residents’ families over a 20 year time frame. The
    defense seeks to discover the Medicare payments regarding
    these same people after leaving Kaufman residences.
         It is believed Medicare costs have increased for
    some of these former residents and the treatment and care
    they have received or are receiving is very similar to
    that which Dr. Kaufman provided.
No authority is cited in support of this request.                It is not the
court’s job to do defendants’ research or speculate regarding why
evidence will be admissible.

    Accordingly, defendants’ motion for pretrial discovery (Docs.
136 and 137) is denied.
    IT IS SO ORDERED.
    Dated this      15th      day of August 2005, at Wichita, Kansas.



                                          s/ Monti Belot
                                          Monti L. Belot
                                          UNITED STATES DISTRICT JUDGE


                                    -2-
